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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA and                  )
STATE OF ILLINOIS,                            )
ex rel. JEFFERY GRAY,                         )
                                              )
             Plaintiff,                       )
                                              )
             v.                               )      No. 15-cv-7137
                                              )
UNITEDHEALTHCARE INSURANCE                    )      Judge Thomas M. Durkin
COMPANY; UNITED HEALTHCARE                    )
SERVICES, INC.; UHIC;                         )
UNITEDHEALTHCARE, INC.;                       )
and UNITEDHEALTH                              )
                                              )
             Defendants.                      )

                                      ORDER

      Relator Jeffery Gray brought this action against United seeking damages and

civil penalties for violations of the False Claims Act (Count I) and the Illinois False

Claims Act (Count II). On June 12, 2018, the Court granted United’s motion to

dismiss the operative second amended complaint but allowed Gray to file a motion

for leave to amend his complaint. R. 66. The Court assumes familiarity with that

decision. Before the Court now is Gray’s motion for leave to file a third amended

complaint. R. 67. United opposes that motion. For the following reasons, Gray’s

motion is denied and this action is dismissed with prejudice.

                                     ANALYSIS

      In the Court’s June 12, 2018 order granting United’s motion to dismiss, the

Court outlined significant overarching issues with Gray’s complaint. Specifically, the

Court explained that CMS has stated that it will not exclude, for payment purposes,
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diagnoses obtained through in-home examinations. Gray also failed to identify any

regulations United violated in submitting data obtained from in-home examinations

to CMS. As a result, the Court held that Gray failed to allege that United’s actions

violated a material funding requirement, precluding his False Claims Act claim.

      The third amended complaint does not cure these deficiencies. Gray merely

repeats his allegations and rehashes his arguments with more detail, relying on the

same statutes and CMS call letters that the Court already held are insufficient to

plead his False Claims Act claim. See, e.g., R. 67-2 ¶¶ 31-39 (repeating allegations

regarding the “additional benefits” language in 42 C.F.R. § 422.310(c), which the

Court rejected in its earlier opinion). Gray still fails to identify any material funding

requirement that United has violated by offering in-home examinations and

submitting that data to CMS for use in the following year’s capitation payment

analysis. He also fails to offer any indication CMS has reconsidered its explicit

decision to use data from in-home examinations in its calculations. 1 Finally, the

fundamental flaw in Gray’s complaint remains—Gray fails to distinguish between

traditional fee-for-service Medicare and Medicare Advantage and the different costs

to the government. See, e.g., id. ¶¶ 16, 38, 63-66 (referring to requirements for

payment of claims that may be considered false claims under traditional Medicare,

but not Medicare Advantage, because of the different ways those programs are




1CMS has not issued a call letter since this Court’s previous opinion. The most recent
call letter confirmed that CMS is continuing to monitor Medicare Advantage plans’
use of in-home assessments to ensure that they are meaningful and effective for
beneficiaries’ clinical conditions. See R. 66 at 13 n.6.
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administered); ¶¶ 43-52 (again alleging the “submission of claims for payment for

medically unnecessary services constitutes a fraud upon the government,” which the

Court rejected for Medicare Advantage plans because those plans do not submit

claims for services in the same way as traditional Medicare). Those allegations are

not materially different from the allegations in Gray’s prior complaint and so fail to

state a claim for the reasons stated in the Court’s prior opinion. Gray does make one

new allegation, which the Court will address now.

      Rewards and Incentives Program. In the third amended complaint, Gray

expands on United’s use of in-home examinations as part of the Medicare-allowed

rewards and incentives program. CMS authorizes Medicare Advantage plans to

“provide rewards and incentives to enrollees in connection with participation in

activities that focus on promoting improved health, preventing injuries and illness,

and promoting efficient use of health resources.” 42 C.F.R. § 422.134(a). CMS

recognized that to be effective, such incentives will necessarily be “of a value that may

be expected to impact enrollee behavior.” 42 C.F.R. § 422.134(c)(1)(iii). CMS “provides

[a Medicare Advantage] organization with great flexibility in designing its own

rewards and incentives program.” Centers for Medicare & Medicaid Services,

Medicare Program; Contract Year 2015 Policy and Technical Changes to the

Medicare Advantage and the Medicare Prescription Drug Benefit Programs, 79 Fed.

Reg. 29,844, 29,917 (May 23, 2014). But CMS does impose certain restrictions on

rewards and incentives programs. Specifically, Medicare Advantage programs may

not discriminate against enrollees and the rewards cannot be offered in cash, must



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be capped at a value determined by CMS, and must otherwise comply with all

relevant laws, including the Anti-Kickback Statute. 42 C.F.R. § 422.134. In its

previous opinion, the Court explained why United’s in-home examinations and gift

cards do not violate the Anti-Kickback Statute as they are currently administered.

See R. 66 at 22-25.

      In the third amended complaint, Gray alleges that United did not submit

expenses related to its in-home examinations as a non-benefit expense of the rewards

and incentives program, and as a result, its in-home examinations violate the Anti-

Kickback Statute. Id. ¶ 71. Medicare Advantage plans are required to submit bids,

and CMS may negotiate bids or decline to approve a bid if the plan sponsor proposes

significant increases in cost sharing or decreases in benefits offered under the plan.

See 42 C.F.R §§ 422.254(a); 422.256(a). Plans are also required to report on their

rewards and incentives programs through their annual reporting requirements.

MMCM, Ch. 4 § 100.7. That reporting requires plans to “document and track

information regarding their RI Programs and be prepared to provide that information

to CMS upon request.” Id. Gray does not explain how he knows that United failed to

submit in-home examination expenses in the bid. Gray also does not explain how a

failure to submit those expenses violates the Anti-Kickback Statute. The Court does

not see how it does—the purpose of the Anti-Kickback Statute is to prevent

remunerations to induce individuals to purchase services for payment from a federal

health care program. As the Court described in detail, United’s use of in-home

examinations does not induce payment from the federal government and there is no



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indication the federal government is paying United anything for its in-home

examinations. In any event, like Gray’s other allegations, Gray fails to allege that the

violation was material so that the government would refuse payment were it aware

of the violation.

       Gray also alleges that CMS specifically excluded the use of “health risk

assessments” from services that Medicare Advantage plans could offer beneficiaries

as a reward or incentive. Id. ¶ 70 (citing the 2019 Final Call Letter). 2 Gray argues

that United’s in-home examinations are “health risk assessments” and thus cannot

be offered to beneficiaries under the rewards and incentives program. According to

CMS, health risk assessments are “usually questionnaires sent to enrollees for self-

completion and ask for basic information about physical, psychosocial, and functional

needs.” 2016 Final Call Letter at 144. 3 Not only are United’s in-home examinations

not “questionnaires sent to enrollees for self-completion” but Gray alleges that

United’s in-home visits do not even include health risk assessments. R. 67-2 ¶ 69(iii)

(alleging that United’s in-home assessments do not provide a health risk




2 Announcement of Calendar Year (CY) 2019 Medicare Advantage Capitation Rates
and Medicare Advantage and Part D Payment Policies and Final Call Letter 212
(April    2,   2018)    (“2019    Final    Call    Letter”).  Available    at
https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/
Downloads/Announcement2019.pdf.

3 CMS previously prohibited rewards and incentives programs from encouraging
completion of health risk assessments because of “the potential for biased responses
due to the influence of rewards and incentives.” 2019 Final Call Letter at 212. The
2019 Call Letter notably changes course and states that beginning in calendar year
2019, Medicare Advantage plans may “include the completion of [a health risk
assessment] as a permitted health-related activity in an RI Program.” Id.
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assessment). 4 Because United’s exams do not use the previously prohibited health

risk assessments, Gray’s argument that they subject it to liability fails.

      Leave to Amend. Finally, Gray asks the Court to allow him to file another

amended complaint to include allegations regarding a $75 gift card 5 United provided

to its beneficiaries in violation of the Anti-Kickback Statute. R. 75 at 19. Gray does

not make clear whether the gift card was provided as an inducement to complete the

in-home examinations at issue or to complete separate annual wellness visits.

Regardless, the Court already rejected Gray’s argument in its previous opinion

(regarding United’s similar use of a $25 Walmart gift card). R. 66 at 22-25. Gray again

states that the gift cards were intended to increase the utilization of Medicare

services. But as the Court described in its opinion, increased services under Medicare




4 In his reply, Gray attempts to walk back his allegation by arguing that the health
risk assessments are annual wellness visits or Medicare covered initial preventative
physical exams. R. 75 at 7. Gray’s argument makes little sense because he then says
that United’s in-home exams are neither annual wellness visits nor preventative
physical exams. Id. If they are neither, then they cannot violate the Anti-Kickback
Statute under Gray’s theory.

5 To the extent Gray argues that the $75 gift card violates the Anti-Kickback Statute
because it is over the “$15 max gift allowed,” R. 75 at 19, that argument fails as well.
The $15 limit Gray references relates to promotional activities “to attract the
attention of prospective enrollees and/or encourage retention of current enrollees.”
Medicare Marketing Guidelines § 70.1 (issued June 10, 2016). Gray alleges the $75
gift card is part of United’s rewards and incentives program, not that it is a
promotional activity. Rewards under the rewards and incentives program can be
capped by CMS, but CMS has not done so. Instead, CMS guidance states: “At this
time, CMS has not identified the monetary values that exceed what is necessary to
influence enrollee behavior. There is also no express limit on how often rewards
and/or incentives may be offered to enrollees throughout a contract year. Instead, MA
plans are to establish reasonable and appropriate values for rewards and/or
incentives that comply with §422.134.” MMCM, Ch. 4 § 100.4.
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Advantage plans do not increase the utilization of Medicare services like traditional

fee-for-service Medicare. R. 66 at 25. And in any event, the Court already found

Gray’s argument too speculative to plausibly allege a violation of the Anti-Kickback

Statute. Id. at 23-24. Any further amendment of the complaint would be futile. Gray’s

request to file a fourth amended complaint is denied. Right Field Rooftops, LLC v.

Chicago Cubs Baseball Club, LLC, 870 F.3d 682, 693 (7th Cir. 2017) (leave need not

be given when “amendment would be futile”).

                                  CONCLUSION

      For the foregoing reasons, Gray’s motion for leave to file a third amended

complaint, R. 67, is denied. The action is dismissed with prejudice.


                                                 ENTERED:



 Dated: October 29, 2018                         ---------------------------------------------
                                                 Honorable Thomas M. Durkin
                                                 United States District Judge




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